Case 08-14631-GMB           Doc 263-1 Filed 05/09/08 Entered 05/09/08 15:40:38               Desc
                                Proposed Order Page 1 of 3



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Attorneys for the Debtors

In re:                                                    Case No. 08-14631(GMB)

SHAPES/ARCH HOLDINGS L.L.C., et al.,                      Judge: Gloria M. Burns

                Debtors.                                  Chapter: 11


   ORDER SHORTENING TIME PERIOD FOR NOTICE AND SETTING HEARING
         The relief set forth on the following pages, numbered two (2) through three (3) is hereby

ORDERED.
Case 08-14631-GMB                Doc 263-1 Filed 05/09/08 Entered 05/09/08 15:40:38             Desc
                                     Proposed Order Page 2 of 3

Page 2

Shapes/Arch Holdings L.L.C., et al.

Case No. 08-14631 (GMB)

Order Shortening Time Period for Notice and Setting Hearing



         Upon consideration of the application of the above-captioned debtors and debtors-in-

possession (the “Debtors”)1, for notice under Federal Rule Bankruptcy Procedure 9006(c)(1),

and for cause shown, it is

         ORDERED as follows:

         1.      The time period required by Local Bankruptcy Rule 9013-1 for notice of hearing

on the Motion (the “Motion”) for an order authorizing but not directing payment of prepetition

sales commissions is hereby shortened as set forth herein.

         2.      A hearing shall be conducted on the aforesaid Motion on May                   2008

at               a.m./p.m. in the United States Bankruptcy Court, 400 Cooper Street, Camden,

New Jersey 08101, Courtroom # 4C.

         3.      True copies of this order, the application for it, and the moving papers shall be

served upon (a) counsel for the Lender Group, (b) counsel for Arch, (c) the Office of the United

States Trustee, (d) the Internal Revenue Service, (e) the New Jersey Attorney General, (f) the

Commonwealth of Pennsylvania Department of Revenue, (g) counsel to the Creditors’

Committee and (h) all parties on the Master Service List by:

                         fax,                               overnight mail,

                         email,                             hand delivery,

                         regular mail,


1
  Unless otherwise defined herein, capitalized terms shall have the same meaning ascribed to
them in the Motion.

                                                  2
Case 08-14631-GMB             Doc 263-1 Filed 05/09/08 Entered 05/09/08 15:40:38                Desc
                                  Proposed Order Page 3 of 3

Page 3

Shapes/Arch Holdings L.L.C., et al.

Case No. 08-14631 (GMB)

Order Shortening Time Period for Notice and Setting Hearing




                 and within

                         day(s) of the date hereof, or

                         on the same date as the Order.

         4.      Any objections to said motion:

                         shall be filed and served as to be received no later than

                         may be presented at the hearing.

         5.              Court appearances will be required to prosecute said motion and any
                          objections.

                         Any objector may appear by telephone at the hearing.

                         The hearing will be held by telephone conference call, to be
                          arranged by the applicant.




CHERRY_HILL\436158\1 220718.000




                                                  3
